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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                         CR-12-48-GF-BMM-01

                 Plaintiff,
                                             ORDER ADOPTING MAGISTRATE
       vs.                                       JUDGE’S FINDINGS AND
                                             RECOMMENDATIONS TO REVOKE
ALICIA ARIE ARTHUR,                         DEFENDANT’S SUPERVISED RELEASE

                 Defendant.



      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter on April 28, 2016. (Doc. 92.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on April 27, 2016. (Doc. 91.)

Arthur admitted that she violated the conditions of her supervised release. The

violations prove serious and warrant revocation of Arthur’s supervised release.
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Judge Johnston recommends that the Court revoke Arthur’s supervised release.

Judge Johnston further recommends that the Court sentence Arthur to three months

of imprisonment followed by 24 months of supervised release. (Doc. 92 at 6.)

      Arthur’s violation qualifies as a Grade C violation. She possess a criminal

history score of IV. Arthur’s underlying offense qualifies as a Class C felony.

Arthur could be incarcerated for up to 24 months. She could be ordered to remain

on supervised release for up to 30 months, less any custody time imposed. The

United States Sentencing Guidelines call for six to 12 months in custody.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Arthur’s violation of her conditions of supervised release

represent a serious breach of the Court’s trust. A sentence of three months custody,

with credit for time served, followed by 24 months of supervised release represents

a sufficient, but not greater than necessary, sentence.
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      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 92) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Alicia Arie Arthur shall be

sentenced to three months imprisonment. Arthur shall receive credit for time

served. The Court orders 24 months of supervised release to follow Arthur’s term

of imprisonment.

      DATED this 16th day of May, 2016.
